Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 1 of 28 Page ID #:1



     Joel E. Elkins (SBN 256020)
 1 jelkins@weisslawllp.com
     WEISSLAW LLP
 2 9100 Wilshire Boulevard #725 E.
     Beverly Hills, CA 90210
 3 Telephone: 310/208-2800
     Facsimile: 310/209-2348
 4
     Attorneys for Plaintiff
 5

 6

 7

 8                             UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10

11
       STEPHEN BUSHANSKY,            )           Case No.
12                                   )
                                     )
13                Plaintiff,         )
                                     )           COMPLAINT FOR VIOLATIONS
14                                   )           OF THE FEDERAL SECURITIES
                  vs.                )           LAWS
15                                   )
       FOUNDATION BUILDING           )           JURY TRIAL DEMANDED
16                                   )
       MATERIALS, INC., RUBEN D.     )
17     MENDOZA, CHASE HAGIN, CHRIS )
       MEYER, RAFAEL A. COLORADO, )
18                                   )
       MATTHEW J. ESPE, FAREED A.    )
19     KHAN, CHAD R. LEWIS, JAMES F. )
       UNDERHILL, and MAUREEN        )
20                                   )
       HARRELL,                      )
21                                   )
                        Defendants.  )
22

23

24         Plaintiff Stephen Bushansky (“Plaintiff”), on behalf of himself and all others
25 similarly situated, upon information and belief, including an examination and inquiry

26
     conducted by and through his counsel, except as to those allegations pertaining to
27

28
                                  -1-
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 2 of 28 Page ID #:2




 1 Plaintiff, which are alleged upon personal belief, alleges the following for his

 2 Complaint:

 3
                                NATURE OF THE ACTION
 4

 5         1.    This is an action brought by Plaintiff against Foundation Building

 6 Materials, Inc. (“Foundation” or the “Company”) and the members of Foundation’s

 7
     Board of Directors (the “Board” or the “Individual Defendants”) for their violations of
 8
 9 Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”),

10 15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities and Exchange Commission (“SEC”)

11
     Rule 14a-9, 17 C.F.R. § 240.14a-9, and to enjoin the close of a proposed transaction,
12

13 pursuant to which Foundation will be acquired by American Securities LLC

14 (“American Securities”) through American Securities’ affiliates ASP Flag Intermediate

15
     Holdings, Inc. (“Parent”), and ASP Flag Merger Sub, Inc. (“Merger Sub”) (the
16

17 “Proposed Transaction”).

18         2.    On November 15, 2020, Foundation issued a press release announcing that
19
     it had entered into an Agreement and Plan of Merger dated November 14, 2020 (the
20

21   “Merger Agreement”) to sell Foundation to American Securities. Under the terms of
22   the Merger Agreement, each Foundation stockholder will receive $19.25 in cash for
23
     each share of Foundation common stock they own (the “Merger Consideration”). The
24

25   Proposed Transaction is valued at approximately $1.37 billion.
26         3.    Concurrently with the execution of the Merger Agreement, in connection
27
     with a Tax Receivable Agreement dated as of February 8, 2017 (“TRA”), the
28
                                  -2-
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 3 of 28 Page ID #:3




 1   Company and its controlling stockholder LSF9 Cypress Parent 2 LLC (“Principal

 2   Stockholder”) 1 entered into a TRA Termination Agreement pursuant to which the
 3
     Company will pay the Principal Stockholder approximately $75.5 million in addition
 4

 5   to regular payments made between signing and closing under the terms of the TRA.
 6   That same day the Principal Stockholder executed and delivered an irrevocable written
 7
     consent adopting the Merger Agreement and approving the Proposed Transaction and
 8
 9   the TRA Termination Agreement. The Company’s minority stockholders do not have
10
     a vote on the Proposed Transaction or the TRA Termination Agreement.
11
           4.    On December 4, 2020, Foundation filed a Schedule 14C Definitive Proxy
12

13 Statement (the “Proxy Statement”) with the SEC.         The Proxy Statement omits or
14
     misrepresents material information concerning, among other things: (i) financial
15
     projections for Foundation; (ii) the data and inputs underlying the financial valuation
16

17 analyses that support the fairness opinion provided by Evercore Group L.L.C.

18
     (“Evercore”), the financial advisor to the special committee of the Board (the “Special
19
     Committee”); (iii) the background of the Proposed Transaction; and (iv) potential
20

21 conflicts of interest faced by Evercore, the Company’s financial advisor RBC Capital

22
     Markets, LLC (“RBC”) and Company insiders. Defendants authorized the issuance of
23

24
     1
25  Principal Stockholder is an affiliate of Lone Star Funds (“Lone Star”), a global private
26 equity firm. Lone Star acquired Foundation in 2015 and has maintained a majority
   ownership of the Company since its initial public offering in 2017. The Principal
27 Stockholder owns approximately 52.3% of the voting power of Foundation’s

28 outstanding shares.
                                              -3-
      COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 4 of 28 Page ID #:4




 1 the false and misleading Proxy Statement in violation of Sections 14(a) and 20(a) of

 2 the Exchange Act.

 3
           5.    In short, unless remedied, Foundation’s public stockholders will be
 4

 5 irreparably harmed because the Proxy Statement’s material misrepresentations and

 6 omissions prevent them from making a sufficiently informed appraisal decision on the

 7
     Proposed Transaction. Plaintiff seeks to enjoin the closing of the Proposed Transaction
 8
 9 unless and until such Exchange Act violations are cured.

10                             JURISDICTION AND VENUE
11
           6.    This Court has jurisdiction over the claims asserted herein for violations
12

13 of Sections 14(a) and 20(a) of the Exchange Act and Rule 14a-9 promulgated

14 thereunder pursuant to Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28

15
     U.S.C. §1331 (federal question jurisdiction).
16

17         7.    The Court has jurisdiction over defendants because each defendant is
18 either a corporation that conducts business in and maintains operations in this District,

19
     or is an individual who has sufficient minimum contacts with this District so as to
20

21 render the exercise of jurisdiction by this Court permissible under traditional notions

22 of fair play and substantial justice.

23
           8.    Venue is proper in this District under Section 27 of the Exchange Act, 15
24

25 U.S.C. § 78aa, as well as under 28 U.S.C. § 1391 because: (i) the Company’s principal

26 executive offices are located in this District; (ii) one or more of the defendants either

27
     resides in or maintains executive offices in this District; and (iii) defendants have
28
                                  -4-
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 5 of 28 Page ID #:5




 1 received substantial compensation in this District by doing business here and engaging

 2 in numerous activities that had an effect in this District.

 3
                                        THE PARTIES
 4

 5           9.    Plaintiff is, and has been at all times relevant hereto, a continuous

 6 stockholder of Foundation.

 7
             10.   Defendant Foundation is a Delaware corporation, with its principal
 8
 9 executive offices located at 2520 Red Hill Avenue, Santa Ana, California 92705. The

10 Company is a specialty building products distributor of wallboard, suspended ceiling

11
     systems, metal framing, and complementary and other products throughout North
12

13 America. Foundation’s common stock trades on the New York Stock Exchange under

14 the ticker symbol “FBM.”

15
             11.   Defendant Ruben D. Mendoza (“Mendoza”) is the founder of the
16

17 Company and has been President and Chief Executive Officer (“CEO”) of the

18 Company since 2011, and a director since February 2017.

19
             12.   Defendant Chase Hagin (“Hagin”) has been a director of the Company
20

21 since February 2018. Defendant Hagin is also a Director of Lone Star North America

22 Acquisitions, L.P. (“Lone Star North America”), an affiliate of the Company and Lone

23
     Star.
24

25           13.   Defendant Chris Meyer (“Meyer”) has been a director of the Company
26 since February 2017. Defendant Meyer is also a Senior Managing Director at Lone

27

28
                                  -5-
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 6 of 28 Page ID #:6




 1 Star North America, and previously served as a Managing Director of Hudson

 2 Americas, L.P. (“Hudson Americas”), a related party of the Company and Lone Star.

 3
           14.   Defendant Rafael A. Colorado (“Colorado”) has been a director of the
 4

 5 Company since April 2018.       Defendant Colorado is also a Managing Director of

 6 Hudson Advisors, L.P., a related party of the Company and Lone Star.

 7
           15.   Defendant Matthew J. Espe (“Espe”) has been a director of the Company
 8
 9 since February 2018.

10         16.   Defendant Fareed A. Khan (“Khan”) has been a director of the Company
11
     since February 2017.
12

13         17.   Defendant Chad R. Lewis (“Lewis”) has been a director of the Company

14 since April 2018. Defendant Lewis is also a Director of Hudson Americas.

15
           18.   Defendant James F. Underhill (“Underhill”) has been a director of the
16

17 Company since February 2017.

18         19.   Defendant Maureen Harrell (“Harrell”) has been a director of the
19
     Company since February 2020. Defendant Harrell is also a Managing Director of
20

21 Hudson Americas.

22         20.   Defendants identified in paragraphs 11-19 are referred to herein as the
23
     “Board” or the “Individual Defendants.”
24

25

26

27

28
                                  -6-
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 7 of 28 Page ID #:7




 1                           OTHER RELEVANT ENTITIES

 2         21.   Principal Stockholder is a Delaware limited liability company and an
 3
     affiliate of Lone Star. Principal Stockholder owns approximately 52.3% of the voting
 4

 5 power of Foundation’s outstanding shares.

 6         22.   American Securities is a leading U.S. private equity firm that invests in
 7
     market-leading North American companies with annual revenues generally ranging
 8
 9 from $200 million to $2 billion and/or $50 million to $250 million of EBITDA.

10 American Securities and its affiliates have approximately $23 billion under

11
     management.
12

13         23.   Parent is a Delaware corporation and is an indirect wholly-owned

14 subsidiary of funds sponsored by American Securities.

15
           24.   Merger Sub is a Delaware corporation and a wholly owned subsidiary of
16

17 Parent.

18
                           SUBSTANTIVE ALLEGATIONS
19

20 Background of the Company

21         25.   Foundation is one of the largest specialty distributors of wallboard,
22
     suspended ceiling systems and metal framing in the United States and Canada. The
23

24
     Company has expanded from a single branch in Southern California in 2011 to more

25 than 175 branches across the United States and Canada as of December 31, 2019,

26
     carrying a broad array of more than 30,000 stock-keeping units (“SKUs”). Foundation
27

28
                                  -7-
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 8 of 28 Page ID #:8




 1 achieved net sales in 2013 of $113.7 million and reached net sales of over $2.1 billion

 2 for the year ended December 31, 2019.

 3
           26.    On November 2, 2020, Foundation announced its third quarter 2020
 4

 5 financial results, reporting net sales of $521.3 million, increased from net sales of

 6 $486.1 million in the second quarter of 2020; net income from continuing operations

 7
     of $11.8 million, an increase from $9.9 million in the second quarter of 2020; and
 8
 9 adjusted net income of $13.3 million, as compared with $11.6 million in the prior

10 quarter of 2020. Commenting on the Company’s performance, defendant Mendoza

11
     stated:
12

13         Despite the challenging market conditions in the third quarter, we have

14         maintained profitability by optimizing our cost structure. We continue to
15
           generate strong cash flows to invest in our business while reducing our
16

17         debt levels to historic lows. We will continue to navigate this challenging
18         environment by focusing on driving organic growth and maximizing
19
           profitability to create long-term value for our Company.
20

21 The Proposed Transaction

22         27.    On November 15, 2020, Foundation issued a press release announcing the
23
     Proposed Transaction. The press release states, in relevant part:
24

25
           SANTA ANA, Calif.--Foundation Building Materials, Inc. (“FBM” or the

26         “Company”) (NYSE: FBM), one of the largest specialty building products
27
           distributors of wallboard, suspended ceiling systems, metal framing and
28
                                  -8-
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 9 of 28 Page ID #:9




 1       complementary and other products in North America, today announced

 2       that it has entered into a definitive agreement under which an affiliate of
 3
         American Securities LLC, a leading private equity firm, will acquire all
 4

 5       outstanding shares of FBM for $19.25 per share in an all-cash transaction

 6       valued at approximately $1.37 billion, including outstanding debt.
 7

 8
 9       An affiliate of Lone Star Funds (“Lone Star”), a global private equity firm,

10       acquired FBM in 2015 and has maintained a majority ownership since the
11
         Company’s initial public offering in 2017. Upon completion of the
12

13       transaction, FBM will become a privately held company.

14

15
         The transaction, which was unanimously approved by the FBM Board of
16

17       Directors, represents a premium of approximately 27% to the closing price
18       of FBM common stock on November 13, 2020, the last trading day prior
19
         to the transaction announcement.
20

21

22       “We are pleased to announce this transaction with American Securities,
23
         delivering immediate cash value to our shareholders at a significant
24

25       premium,” said Ruben Mendoza, President and CEO of FBM. “American
26       Securities has a proven track record of investing in building products and
27
         distribution businesses, and shares our commitment to providing superior
28
                                -9-
      COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 10 of 28 Page ID #:10




 1        products and services to our customers. Having founded FBM nearly a

 2        decade ago, I am confident American Securities is the right partner for our
 3
          company’s next phase, as we work to advance our strategic priorities and
 4

 5        continue building long-term value for the Company. This transaction is

 6        truly a testament to the hard work and dedication of our more than 3,400
 7
          employees, and I’m excited to partner with the team at American
 8
 9        Securities to further accelerate our success.”

10

11
          “The FBM Board, led by the Special Committee and with the assistance
12

13        of independent financial and legal advisors, conducted a thorough review

14        of opportunities to enhance shareholder value, and unanimously
15
          concluded that entering into this agreement with American Securities
16

17        represents the best way to maximize value,” said Chris Meyer, Chairman
18        of the FBM Board. “This transaction with American Securities is a great
19
          outcome for FBM, and I thank Ruben and the rest of the management team
20

21        for leading FBM to this critical point in the Company’s history. We look
22        forward to FBM’s continued success with its new partner.”
23

24

25        “FBM’s strong national brand and reputation as the distributor of choice
26        for leading building product suppliers make it a compelling investment
27
          for American Securities,” said Kevin Penn, a Managing Director of
28
                                - 10 -
       COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 11 of 28 Page ID #:11




 1         American Securities. “FBM has built meaningful relationships with its

 2         loyal customer base, and its focus on customer service underpins its
 3
           leading market position. We look forward to working with the FBM team
 4

 5         to build on the Company’s leadership and grow its global presence while

 6         further strengthening its relationships with its customers and partners.”
 7

 8
 9         Approvals

10

11
           Following execution of the merger agreement, FBM’s majority
12

13         shareholder, which owns approximately 52% of the Company’s

14         outstanding shares of common stock, approved the transaction by written
15
           consent. No further action by FBM’s shareholders is needed or will be
16

17         solicited in connection with the merger.
18

19
           The transaction is expected to close in the first quarter of 2021, subject to
20

21         customary closing conditions, including receipt of clearance under the
22         Hart-Scott-Rodino Antitrust Improvements Act of 1976 and the
23
           Competition Act (Canada).
24

25
     Insiders’ Interests in the Proposed Transaction
26

27

28
                                 - 11 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 12 of 28 Page ID #:12




 1         28.   Foundation insiders are the primary beneficiaries of the Proposed

 2 Transaction, not the Company’s public stockholders. The Board and the Company’s

 3
     executive officers are conflicted because they will have secured unique benefits for
 4

 5 themselves from the Proposed Transaction not available to Plaintiff and the public

 6 stockholders of Foundation.

 7
           29.   Notably, the Company’s Principal Stockholder will be entitled to a
 8
 9 payment of approximately $75.5 million in connection with the TRA Termination

10 Agreement.

11
           30.   In addition, Foundation insiders stand to reap substantial financial benefits
12

13 for securing the deal with American Securities. Pursuant to the Merger Agreement, all

14 outstanding options and restricted stock units (“RSU”) will vest and convert into the

15
     right to receive the Merger Consideration. The following table summarizes the value
16

17 of the Company options and RSUs that Company insiders stand to receive:

18

19

20

21

22
           31.   Moreover, certain Company insiders participate in the LSF9 Cypress
23

24 Parent LLC Long Term Incentive Plan (the “LTIP”), which will entitle them to cash

25
     payouts upon consummation of the Proposed Transaction.            The following table
26

27

28
                                 - 12 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 13 of 28 Page ID #:13




 1 summarizes the cash payments that Foundation insiders stand to receive under the

 2 LTIP:

 3

 4

 5

 6

 7

 8
 9

10
           32.   In addition, if they are terminated in connection with the Proposed
11
     Transaction, Foundation’s named executive officers stand to receive substantial cash
12

13 severance payments as set forth in the following table:

14

15

16

17 The Proxy Statement Contains Material Misstatements or Omissions

18         33.   The defendants filed a materially incomplete and misleading Proxy
19
     Statement with the SEC and disseminated it to Foundation’s stockholders. The Proxy
20

21 Statement misrepresents or omits material information that is necessary for the

22
     Company’s stockholders to make an informed decision whether to seek to exercise
23
     their appraisal rights in connection with the Proposed Transaction.
24

25         34.   Specifically, as set forth below, the Proxy Statement fails to provide
26
     Company stockholders with material information or provides them with materially
27
     misleading information concerning: (i) financial projections for Foundation; (ii) the
28
                                 - 13 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 14 of 28 Page ID #:14




 1 data and inputs underlying the financial valuation analyses that support the fairness

 2 opinion provided by the Special Committee’s financial advisor, Evercore; (iii) the

 3
     background of the Proposed Transaction; and (iv) potential conflicts of interest faced
 4

 5 by Evercore, the Company’s financial advisor RBC and Company insiders.

 6 Material Omissions Concerning Financial Projections for Foundation

 7           35.   The Proxy Statement omits material information regarding financial
 8
     projections for Foundation.
 9

10           36.   For example, according to the Proxy Statement, Foundation management

11 prepared and provided Evercore with “three different five-year financial scenarios

12
     contained in the Company’s management plan dated as of October 15, 2020 (the
13

14 ‘Management Plan’): (i) the risk plan (the ‘Risk Plan’), (ii) the base organic plan (the

15 ‘Base Organic Plan’), and (iii) the acquisitions plan (the ‘Acquisitions Plan’).” Proxy

16
     Statement at 34. The Proxy Statement however fails to disclose the Management Plan,
17

18 to the extent the Management Plan reflects a separate set of financial projections. The

19 Proxy Statement also sets forth that “Evercore reviewed each plan scenario at the

20
     instruction of the Special Committee, using assumptions provided by Company
21

22 management.”       Id. at 35.   The Proxy Statement, however, fails to disclose the
23 assumptions underlying each of the Risk Plan, Base Organic Plan and Acquisitions

24
     Plan.
25

26

27

28
                                 - 14 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 15 of 28 Page ID #:15




 1         37.   In addition, the Proxy Statement fails to disclose unlevered free cash flow

 2 (“UFCF”) and the underlying line items for each of the Risk Plan, Base Organic Plan

 3
     and Acquisitions Plan for years 2020 through 2024.
 4

 5         38.   The Proxy Statement further fails to disclose the estimated future cash

 6 payments and balance sheet liabilities under the TRA by and between the Principal

 7
     Stockholder and the Company.
 8
 9         39.   The omission of this material information renders the statements in the

10 “Unaudited Projected Financial Information of the Company” and “Opinion of

11
     Evercore” sections of the Proxy Statement false and/or materially misleading in
12

13 contravention of the Exchange Act

14 Material Omissions Concerning Evercore’s Financial Analyses

15
           40.   The Proxy Statement omits material information regarding Evercore’s
16

17 financial analyses.

18         41.   The Proxy Statement describes Evercore’s fairness opinion and the
19
     various valuation analyses they performed in support of its opinion. However, the
20

21 description of Evercore’s fairness opinion and analyses fails to include key inputs and

22 assumptions underlying these analyses. Without this information, as described below,

23
     Foundation’s public stockholders are unable to fully understand these analyses and,
24

25 thus, are unable to determine what weight, if any, to place on Evercore’s fairness

26 opinion in determining whether to seek to exercise their appraisal rights in connection

27
     with the Proposed Transaction.
28
                                 - 15 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 16 of 28 Page ID #:16




 1         42.   With respect to Evercore’s Selected Public Company Analysis, the Proxy

 2 Statement fails to quantify the liabilities considered under the TRA and the impact of

 3
     the TRA liabilities on the high ends of the TEV/EBITDA multiples for the Company.
 4

 5         43.   With respect to Evercore’s Illustrative Present Value of Future Share Price

 6 Analysis, the Proxy Statement fails to disclose: (i) the Company’s net debt; (ii)

 7
     quantification of the liabilities considered under the TRA and the impact of the TRA
 8
 9 liabilities on the high ends of the TEV/EBITDA multiples; and (iii) quantification of

10 the individual inputs and assumptions underlying the discount rates ranging from

11
     13.5% to 14.5%.
12

13         44.   With respect to Evercore’s Illustrative Discounted Cash Flow Analysis,

14 the Proxy Statement fails to disclose: (i) the UFCFs utilized in the analysis; (ii) how

15
     Evercore calculated UFCF; (iii) quantification of the individual inputs and assumptions
16

17 underlying the discount rates ranging from 9.0% to 10.0%; (iv) quantification of the

18 estimated TRA liabilities on December 31, 2024 and the impact of the TRA liabilities

19
     on the high end of Evercore’s reference range of exit TEV/EBITDA multiple when
20

21 using the exit multiple method; and (v) quantification of the estimated cash payments

22 under the TRA from fiscal year 2025 utilized under the perpetuity growth method; and

23
     (vi) quantification of Foundation’s terminal value for each scenario under the exit
24

25 multiple method and the perpetuity growth method.

26         45.   With respect to Evercore’s Selected Precedent Transactions Analysis, the
27
     Proxy Statement fails to disclose: (i) the identity of the transactions involving
28
                                 - 16 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 17 of 28 Page ID #:17




 1 residentially-focused building product distributors analyzed by Evercore; and (ii) the

 2 individual multiples and metrics for each of the residentially-focused transactions

 3
     observed in the analysis.
 4

 5         46.    With respect to Evercore’s Illustrative Leveraged Buy-out analysis, the

 6 Proxy Statement fails to disclose: (i) the forecasts used in connection with the analysis;

 7
     and (ii) Evercore’s basis for selecting the target internal rate of return, terminal
 8
 9 multiple, and leverage multiple used in the analysis.

10         47.    With respect to Evercore’s Premium Paid Analysis: (i) the specific
11
     transactions analyzed; and (ii) the individual premiums paid for each of the transactions
12

13 analyzed.

14         48.    Without such undisclosed information, Foundation stockholders cannot
15
     evaluate for themselves whether the financial analyses performed by Evercore were
16

17 based on reliable inputs and assumptions or whether they were prepared with an eye

18 toward ensuring that a positive fairness opinion could be rendered in connection with

19
     the Proposed Transaction. In other words, full disclosure of the omissions identified
20

21 above is required in order to ensure that stockholders can fully evaluate the extent to

22 which Evercore’s opinion and analyses should factor into their decision whether to seek

23
     to exercise their appraisal rights in connection with the Proposed Transaction.
24

25         49.    The omission of this material information renders the statements in the
26 “Opinion of Evercore” and “Unaudited Projected Financial Information of the

27

28
                                 - 17 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 18 of 28 Page ID #:18




 1 Company” sections of the Proxy Statement false and/or materially misleading in

 2 contravention of the Exchange Act.

 3
     Material Omissions Concerning the Background of the Proposed Transaction
 4

 5         50.   The Proxy Statement fails to disclose material information concerning the

 6 background process leading to the Proposed Transaction.

 7
           51.   For example, the Proxy Statement fails to disclose the terms of the
 8
 9 confidentiality agreements the Company entered into with potential bidders.         The

10 Proxy Statement discloses that “of the five financial sponsors and one industry

11
     participant contacted during the Company’s outreach process, five parties had executed
12

13 confidentiality agreements and were conducting due diligence.” Id. at 23. The Proxy

14 Statement fails, however, to identify the parties that entered into confidentiality

15
     agreements, including whether the financial sponsor referred to in the Proxy Statement
16

17 as “Party C” entered into a confidentiality agreement with the Company, and, if so,

18 when.     The Proxy Statement also fails to disclose whether these confidentiality
19
     agreements contained      standstill   provisions and/or “don’t-ask,    don’t-waive”
20

21 (“DADW”) standstill provisions that are still in effect and currently precluding these

22 parties from making a topping bid for the Company.

23
           52.   The failure to disclose the existence of DADW provisions creates the false
24

25 impression that a potential bidder who entered into a confidentiality agreement could

26 make a superior proposal for the Company. If the potential acquirer’s confidentiality

27
     agreement contains a DADW provision, then that potential bidder can only make a
28
                                 - 18 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 19 of 28 Page ID #:19




 1 superior proposal by (i) breaching the confidentiality agreement—since in order to

 2 make the superior proposal, it would have to ask for a waiver, either directly or

 3
     indirectly; or by (ii) being released from the agreement, which if action has been done,
 4

 5 is omitted from the Proxy Statement.

 6         53.    Any reasonable Foundation stockholder would deem the fact that a likely
 7
     topping bidder for the Company may be precluded from making a topping bid for the
 8
 9 Company to significantly alter the total mix of information.

10         54.    The Proxy Statement also fails to disclose how the various bidders valued
11
     the TRA and a quantification of any TRA-related payments the Principal Stockholder
12

13 would receive in connection with the proposals the Company received during the sale

14 process. For example, on October 20, 2020, Party C submitted an indication of interest

15
     to acquire the Company at a purchase price ranging from $18.50 to $20.50 per share in
16

17 cash – a range with a high end $1.25 above the Merger Consideration. According to

18 the Proxy Statement, “[t]he indication of interest contemplated the payment of the TRA

19
     in accordance with its terms.” Id. at 24. On October 28, 2020, American Securities
20

21 submitted an indication of interest to acquire the Company for $19.25 per share in cash.

22 The Proxy Statement states, “[t]he proposal contemplated termination of the TRA in

23
     accordance with its terms.” Id. The Proxy Statement fails to quantify the payment of
24

25 the TRA under the respective proposals.         Without this information, Foundation’s
26 minority stockholders cannot evaluate the adequacy of the sale process and are misled

27
     into accepting inadequate Merger Consideration.
28
                                 - 19 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 20 of 28 Page ID #:20




 1         55.    In addition, in light of the Principal Stockholder’s conflicts of interest as

 2 a majority stockholder and a recipient of TRA-related payments, the Proxy Statement

 3
     fails to disclose the details of any prophylactic measures taken by the Board to insulate
 4

 5 the conflicted directors. Notably, although the Board established a Special Committee

 6 composed of defendants Espe, Khan and Underhill, the Proxy Statement sets forth that

 7
     defendants Khan and Underhill each “[o]wn[] interests in entities which own direct or
 8
 9 indirect non-controlling interests in LSF9 Cypress Parent 2 LLC[.]” Id. at 64. The

10 Special Committee also appears to have played a limited role in the sale process. For

11
     example, at its October 31, 2020 meeting, despite a potentially higher outstanding offer
12

13 from Party C, the Board determined to grant exclusivity to American Securities without

14 any recommendation of the Special Committee. The Board and Special Committee

15
     further failed to negotiate a minority-of-the-majority provision.
16

17         56.    The omission of this information renders the statements in the
18 “Background of the Merger” section of the Proxy Statement false and/or materially

19
     misleading in contravention of the Exchange Act.
20

21 Material Omissions Concerning Evercore’s, RBC’s and Company Insiders’

22 Potential Conflicts of Interest

23

24         57.    The Proxy Statement fails to disclose material information concerning the
25
     potential conflicts of interest faced by Evercore and RBC.
26

27         58.    The Proxy Statement sets forth:
28
                                 - 20 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 21 of 28 Page ID #:21




 1         Evercore will also be entitled to receive a termination fee if the Merger is

 2         not consummated, and a discretionary fee of up to $1.5 million based
 3
           upon, among other things, the resources expended by Evercore in the
 4

 5         course of the engagement, the satisfaction of the Special Committee with

 6         Evercore’s services and the benefit to the Company of the successful
 7
           conclusion of the engagement. During the two-year period prior to the date
 8
 9         hereof, Evercore and its affiliates have not been engaged to provide

10         financial advisory or other services to the Company and they have not
11
           received any compensation from the Company during such period. During
12

13         the two-year period prior to the date of the opinion, Evercore and its

14         affiliates have provided financial advisory services to affiliates of Parent,
15
           none of which services are related to the Merger or involve the Company,
16

17         and received fees for the rendering of these services, including investment
18         banking advisory fees of approximately $18 million from affiliates of
19
           Parent.
20

21 Id. at 39. The Proxy Statement fails, however, to disclose whether the Company

22 anticipates paying Evercore the additional fee. The Proxy Statement further fails to

23
     disclose the details of any services Evercore provided to the Principal Stockholder or
24

25 its affiliates during the two-year period prior to the date of its fairness opinion and the

26 amount of compensation Evercore received in connection with any services it provided.

27

28
                                 - 21 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 22 of 28 Page ID #:22




 1         59.   The Proxy Statement further states that, “[t]he Company has agreed to pay

 2 RBC Capital Markets for its services as financial advisor to the Company in connection

 3
     with the Merger an aggregate fee currently estimated to be approximately $8.3 million,
 4

 5 which is contingent upon the closing of the Merger.” Id. at 41. The Proxy Statement

 6 fails, however, to disclose the details of any services RBC provided to Foundation, the

 7
     Principal Stockholder, or American Securities, and each of their respective affiliates,
 8
 9 in the two-year period prior to the date of its fairness opinion, and any compensation

10 received for services provided.

11
           60.   Full disclosure of investment banker compensation and all potential
12

13 conflicts is required due to the central role played by investment banks in the

14 evaluation, exploration, selection, and implementation of strategic alternatives.

15
           61.   The Proxy Statement also fails to disclose material information
16

17 concerning the potential conflicts of interest faced by the Company’s insiders.

18 According to the Proxy Statement, Special Committee members defendants Khan and

19
     Underhill each “[o]wn[] interests in entities which own direct or indirect non-
20

21 controlling interests in LSF9 Cypress Parent 2 LLC[.]” Id. at 64. Yet, the Proxy

22 Statement fails to disclose the details of these ownership interests.        The Proxy
23
     Statement similarly fails to disclose the details of defendants Khan and Underhill’s
24

25 interests in the TRA. See id. at 65. Without this information, Foundation’s public

26 stockholders cannot evaluate the independence of the Special Committee members.

27

28
                                 - 22 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 23 of 28 Page ID #:23




 1         62.    In addition, the Proxy Statement fails to disclose whether any members of

 2 Foundation management have secured employment with the post-close company and

 3
     the details of any employment and retention-related discussions and negotiations that
 4

 5 occurred, including who participated in all such communications, when they occurred

 6 and their content.     The Proxy Statement further fails to disclose whether any of
 7
     American Securities’ proposals or indications of interest mentioned management
 8
 9 retention.

10         63.    Communications regarding post-transaction employment and merger-
11
     related benefits during the negotiation of the underlying transaction must be disclosed
12

13 to stockholders.     This information is necessary for Foundation’s stockholders to

14 understand potential conflicts of interest of management, the Special Committee and

15
     the Board, as that information provides illumination concerning motivations that would
16

17 prevent fiduciaries from acting solely in the best interests of the Company’s

18 stockholders.

19
           64.    The omission of this information renders the statements in the “Opinion
20

21 of Evercore,” “Fee Payable to the Company’s Financial Advisor in Connection with

22 the Merger,” “Background of the Merger,” and “Interests of Directors and Executive

23
     Officers in the Merger” sections of the Proxy Statement false and/or materially
24

25 misleading in contravention of the Exchange Act.

26         65.    The Individual Defendants were aware of their duty to disclose the above-
27
     referenced omitted information and acted negligently (if not deliberately) in failing to
28
                                 - 23 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 24 of 28 Page ID #:24




 1 include this information in the Proxy Statement. Absent disclosure of the foregoing

 2 material information prior to the deadline to exercise appraisal rights in connection

 3
     with the Proposed Transaction, Plaintiff and the other stockholders of Foundation will
 4

 5 be unable to make an informed appraisal decision in connection with the Proposed

 6 Transaction and are thus threatened with irreparable harm warranting the injunctive

 7
     relief sought herein.
 8
 9                                   CLAIMS FOR RELIEF

10                                           COUNT I
11
            Claims Against All Defendants for Violations of Section 14(a) of the
12
                  Exchange Act and Rule 14a-9 Promulgated Thereunder
13

14         66.    Plaintiff repeats all previous allegations as if set forth in full.
15
           67.    During the relevant period, defendants disseminated the false and
16
     misleading Proxy Statement specified above, which failed to disclose material facts
17

18 necessary to make the statements, in light of the circumstances under which they were

19
     made, not misleading in violation of Section 14(a) of the Exchange Act and SEC Rule
20
     14a-9 promulgated thereunder.
21

22         68.    By virtue of their positions within the Company, the defendants were
23
     aware of this information and of their duty to disclose this information in the Proxy
24

25
     Statement. The Proxy Statement was prepared, reviewed, and/or disseminated by the

26 defendants.     It misrepresented and/or omitted material facts, including material
27
     information about the Company’s financial projections, the data and inputs underlying
28
                                 - 24 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 25 of 28 Page ID #:25




 1 the financial valuation analyses that support the fairness opinion provided by the

 2 Special Committee’s financial advisor, Evercore, the background of the Proposed

 3
     Transaction, and potential conflicts of interest faced by Evercore, the Company’s
 4

 5 financial advisor RBC and Company insiders. The defendants were at least negligent

 6 in filing the Proxy Statement with these materially false and misleading statements.

 7
           69.    The omissions and false and misleading statements in the Proxy Statement
 8
 9 are material in that a reasonable stockholder would consider them important in deciding

10 whether to seek to exercise their appraisal rights.

11
           70.    By reason of the foregoing, the defendants have violated Section 14(a) of
12

13 the Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.

14         71.    Because of the false and misleading statements in the Proxy Statement,
15
     Plaintiff is threatened with irreparable harm, rendering money damages inadequate.
16

17 Therefore, injunctive relief is appropriate to ensure defendants’ misconduct is

18 corrected.

19
                                            COUNT II
20

21                      Claims Against the Individual Defendants for
22                     Violations of Section 20(a) of the Exchange Act
23
           72.    Plaintiff repeats all previous allegations as if set forth in full.
24

25         73.    The Individual Defendants acted as controlling persons of Foundation
26 within the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue

27
     of their positions as officers and/or directors of Foundation, and participation in and/or
28
                                 - 25 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 26 of 28 Page ID #:26




 1 awareness of the Company’s operations and/or intimate knowledge of the false

 2 statements contained in the Proxy Statement filed with the SEC, they had the power to

 3
     influence and control and did influence and control, directly or indirectly, the decision-
 4

 5 making of the Company, including the content and dissemination of the various

 6 statements which Plaintiff contends are false and misleading.

 7
           74.    Each of the Individual Defendants was provided with or had unlimited
 8
 9 access to copies of the Proxy Statement and other statements alleged by Plaintiff to be

10 misleading prior to and/or shortly after these statements were issued and had the ability

11
     to prevent the issuance of the statements or cause the statements to be corrected.
12

13         75.    In particular, each of the Individual Defendants had direct and supervisory

14 involvement in the day-to-day operations of the Company, and, therefore, is presumed

15
     to have had the power to control or influence the particular transactions giving rise to
16

17 the securities violations as alleged herein, and exercised the same.            The Proxy
18 Statement at issue contains the unanimous recommendation of each of the Individual

19
     Defendants to approve the Proposed Transaction. They were, thus, directly involved
20

21 in the making of the Proxy Statement.

22         76.    In addition, as the Proxy Statement sets forth at length, and as described
23
     herein, the Individual Defendants were each involved in negotiating, reviewing, and
24

25 approving the Proposed Transaction. The Proxy Statement purports to describe the

26 various issues and information that they reviewed and considered—descriptions the

27
     Company directors had input into.
28
                                 - 26 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 27 of 28 Page ID #:27




 1         77.    By virtue of the foregoing, the Individual Defendants have violated

 2 Section 20(a) of the Exchange Act.

 3
           78.    As set forth above, the Individual Defendants had the ability to exercise
 4

 5 control over and did control a person or persons who have each violated Section 14(a)

 6 and SEC Rule 14a-9, promulgated thereunder, by their acts and omissions as alleged

 7
     herein. By virtue of their positions as controlling persons, these defendants are liable
 8
 9 pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of

10 defendants’ conduct, Foundation’s stockholders will be irreparably harmed.

11
                                   PRAYER FOR RELIEF
12

13         WHEREFORE, Plaintiff demands judgment and preliminary and permanent

14 relief, including injunctive relief, in his favor on behalf of Foundation, and against

15
     defendants, as follows:
16

17         A.     Preliminarily and permanently enjoining defendants and all persons acting
18                in concert with them from proceeding with, consummating, or closing the
19
                  Proposed Transaction, unless and until defendants disclose and
20

21                disseminate the material information identified above to Foundation
22                stockholders;
23
           B.     In the event defendants consummate the Proposed Transaction, rescinding
24

25                it and setting it aside or awarding rescissory damages to Plaintiff;
26         C.     Declaring that defendants violated Sections 14(a) and/or 20(a) of the
27
                  Exchange Act, as well as SEC Rule 14a-9 promulgated thereunder;
28
                                 - 27 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 8:20-cv-02345-CJC-KES Document 1 Filed 12/14/20 Page 28 of 28 Page ID #:28




 1        D.    Awarding Plaintiff the costs of this action, including reasonable allowance

 2              for Plaintiff’s attorneys’ and experts’ fees; and
 3
          E.    Granting such other and further relief as this Court may deem just and
 4

 5              proper.

 6                                    JURY DEMAND
 7
          Plaintiff demands a trial by jury on all claims and issues so triable.
 8
       Dated: December 14, 2020                  WEISSLAW LLP
 9
                                                 Joel E. Elkins
10
                                                 By: _______________________
11

12                                               Joel E. Elkins
                                                 9100 Wilshire Boulevard #725 E.
13                                               Beverly Hills, CA 90210
                                                 Telephone: 310/208-2800
14
                                                 Facsimile: 310/209-2348
15                                                      -and-
                                                 Richard A. Acocelli
16
                                                 1500 Broadway, 16th Floor
17                                               New York, NY 10036
                                                 Telephone: 212/682-3025
18
                                                 Facsimile: 212/682-3010
19
                                                 Attorneys for Plaintiff
20

21

22

23

24

25

26

27

28
                                - 28 -
       COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
